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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

 ROBERT BERRY, INDIVIDUALLY                          §
 AND ON BEHALF OF ALL OTHERS                         §
 SIMILARLY SITUATED,                                 §
                                                     §
                         Plaintiff,                  §       Civil Action No. No. 3:17-cv-00304-JFA
                                                     §
 VS.                                                 §
                                                     §
 WELLS FARGO & COMPANY,                              §
 WELLS FARGO CLEARING                                §
 SERVICES, LLC, and WELLS FARGO                      §
 ADVISORS FINANCIAL NETWORK,                         §
 LLC, and DOES 1 thru 50,                            §
                                                     §
                         Defendants.                 §

           JOINT MOTION TO EXTEND DEADLINES AND CONTINUE STAY

        On October 30, 2019, Plaintiff Robert F. Berry (“Plaintiff”) and Defendants Wells Fargo

& Company, Wells Fargo Clearing Services, LLC f/k/a Wells Fargo Advisors, LLC, and Wells

Fargo Advisors Financial Network LLC (collectively, “Defendants”) reached a settlement-in-

principle to resolve all claims in this certified class action.

        On November 5, 2019, the Court ordered that this action be stayed for 60 days, and set a

December 30, 2019 deadline for the parties to submit a Motion for Preliminary Approval of the

Settlement. (ECF No. 109.) On December 30, 2019, the Court further extended the deadline to

January 21, 2019 for the parties to submit a Motion for Preliminary Approval of the Settlement.

(ECF No. 110.)

        Since that time, the parties have worked to finalize settlement terms. While the parties

expect to complete that agreement, they require additional time to finalize the language in their

settlement agreement, and prepare a motion for preliminary approval under Federal Rule of Civil

Procedure 23(e) that incorporates those finalized terms.
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       Accordingly, the parties jointly request that the Court continue its stay of this action for an

additional 10 days, and extend the deadline for the parties to submit a Motion for Preliminary

Approval of the Settlement until January 31, 2020.

                                                         Respectfully submitted,

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                                          ATTORNEYS FOR PLAINTIFF




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